16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08                     Main Document
                                                 Pg 1 of 14


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 David R. Hurst
 Daniel F.X. Geoghan

 Counsel to the SunEdison Litigation Trust

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                           :
 In re:                                                    : Chapter 11
                                                           :
 SUNEDISON, INC., et al.,                                  : Case No. 16-10992 (SMB)
                                                           :
                          Reorganized Debtors.1            : (Jointly Administered)
                                                           :

   NOTICE OF ADJOURNMENT SINE DIE OF PRETRIAL CONFERENCES FOR
 ADVERSARY PROCEEDINGS COMMENCED BY SUNEDISON LITIGATION TRUST

                   PLEASE TAKE NOTICE that the SunEdison Litigation Trust (the “Trust”) filed

 the adversary proceedings listed on Exhibit A hereto (the “Adversary Proceedings”), for which




 1
     The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
     tax identification number are as follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind
     Holdings, Inc. (2144); SUNE Hawaii Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014);
     First Wind California Holdings, LLC (7697); SunEdison Holdings Corporation (8669); SunEdison Utility
     Holdings, Inc. (6443); SunEdison International, Inc. (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc.
     (5238); Solaicx (1969); SunEdison Contracting, LLC (3819); NVT, LLC (5370); NVT Licenses, LLC (5445);
     Team-Solar, Inc. (7782); SunEdison Canada, LLC (6287); Enflex Corporation (5515); Fotowatio Renewable
     Ventures, Inc. (1788); Silver Ridge Power Holdings, LLC (5886); SunEdison International, LLC (1567); Sun
     Edison LLC (1450); SunEdison Products Singapore Pte. Ltd. (7373); SunEdison Residential Services, LLC
     (5787); PVT Solar, Inc. (3308); SEV Merger Sub Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273);
     Blue Sky West Capital, LLC (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle
     Holdings III, LLC (4238); DSP Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A);
     EverStream HoldCo Fund I, LLC (9564); Buckthorn Renewables Holdings, LLC (7616); Greenmountain Wind
     Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind Holdings, LLC (N/A); SunE
     Waiawa Holdings, LLC (9757); SunE Minnesota Holdings, LLC (8926); SunE MN Development Holdings,
     LLC (5388); and SunE MN Development, LLC (8669). The address of the Reorganized Debtors’ corporate
     headquarters is Two CityPlace Drive, 2nd floor, St. Louis, MO 63141.



 57533/0001-15840287v1
16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08       Main Document
                                                 Pg 2 of 14


 pretrial conferences were scheduled to be held on May 15, 2018 at 10:00 a.m. (collectively, the

 “Pretrial Conferences”).

                   PLEASE TAKE FURTHER NOTICE that such Pretrial Conferences have been

 adjourned to a date to be determined.


 Dated: New York, New York
        May 9, 2018

                                                COLE SCHOTZ P.C.


                                                /s/ David R. Hurst
                                                David R. Hurst
                                                Daniel F.X. Geoghan
                                                1325 Avenue of the Americas
                                                19th Floor
                                                New York, New York 10019
                                                Telephone: (212) 752-8000
                                                Facsimile: (212) 752-8393

                                                Counsel to the SunEdison Litigation Trust




                                                   2
 57533/0001-15840287v1
16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08        Main Document
                                                 Pg 3 of 14


                                                EXHIBIT A

                                          Adversary Proceedings

              Defendants                                           Adv. Pro. No. 
              1111 19th Street Association                           18‐01279 
              3Megawatt Gmbh                                         18‐01041 
              8minuteenergy SPV1 LLC                                 18‐01474 
              8X8, Inc.                                              18‐01278 
              ABB, Inc.                                              18‐01042 
              Abogados Y Asesores S. De R.L.                         18‐01248 
              ABS Netcom, Inc.                                       18‐01320 
              A‐C Electric Company                                   18‐01337 
              Accent Design                                          18‐01115 
              ACE USA                                                18‐01338 
              Acnovate Business Solutions                            18‐01435 
              Addleshaw Goddard                                      18‐01281 
              Adecco Employment Services                             18‐01523 
              Adler Tank Rentals                                     18‐01293 
              Advanced Energy Renewables Inc.                        18‐01282 
              Advantech Corporation                                  18‐01043 
              Aerotek, Inc.                                          18‐01531 
              Aetna Life And Casualty Bermuda                        18‐01294 
              Afco Credit Corp.                                      18‐01283 
              Agile Consulting Co.                                   18‐01284 
              Agilent Technologies Inc.                              18‐01295 
              Air Products & Chemicals                               18‐01514 
              Aireko Construction Co.                                18‐01339 
              Alamosa County Treasurer                               18‐01091 
              Alejandro Hernandez                                    18‐01409 
              AllCell Technologies, LLC                              18‐01092 
              Alliance Roofing Company Inc.                          18‐01093 
              Allied Industrial Sales Inc.                           18‐01296 
              Altai Capital Management, L.P.                         18‐01285 
              Alvarado Tax And Business Advisors LLC                 18‐01136 
              Ameresco, Inc.                                         18‐01044 
              American Express                                       18‐01481 
              American Roll Formed Products                          18‐01482 
              Anish Shah                                             18‐01410 
              Antelope Valley Cattle & Milling Co.                   18‐01094 
              Aon Risk Services                                      18‐01515 
              APC Workforce Solutions LLC (dba ZeroChaos)            18‐01116 
              Apple Ridge Funding LLC                                18‐01348 



 57533/0001-15840287v1
16-10992-smb             Doc 5354    Filed 05/09/18 Entered 05/09/18 15:47:08       Main Document
                                                  Pg 4 of 14


              Cartus Corp. 
              Applus (Shanghai) Quality Inspection                      18‐01483 
              Aramark Uniform Services                                  18‐01524 
              Arizona Solar Concepts                                    18‐01321 
              Arizona Solar Solution                                    18‐01484 
              Arizona Solar Wave                                        18‐01485 
              Arthur Leblanc                                            18‐01411 
              Astrom Technical Advisors S.L.                            18‐01475 
              AT&T                                                      18‐01322 
              Atersa Grupo Elecnor                                      18‐01045 
              Avoca Engineers & Architects, LLC                         18‐01340 
              Axial Sistemas Solares, S.L.                              18‐01249 
              B. Bosch S.A.                                             18‐01486 
              Ballswood                                                 18‐01533 
              Balwara LLC                                               18‐01455 
              Bank Direct Capital Finance LLC                           18‐01046 
              Bank Of America, N.A.                                     18‐01250 
              Barnes Solar Inc.                                         18‐01323 
              Barry‐Wehmiller Design Group, Inc.                        18‐01251 
              Beacon Hill Staffing, LLC                                 18‐01252 
              Benjamin Fairbanks                                        18‐01412 
              Bergelectic Corp.                                         18‐01341 
              Best Vinyl Fence & Deck, LLC                              18‐01476 
              Big Island Toyota, Inc.                                   18‐01389 
              Bixby Land Company                                        18‐01047 
              Blackline Systems, Inc. (dba OSABA Inc.)                  18‐01048 
              Blair, Church & Flynn Consulting Engineers, Inc.          18‐01343 
              Bluewave Capital LLC                                      18‐01049 
              Bockmon & Woody Electric Co., Inc.                        18‐01253 
              Bonfiglioli Vectron Gmbh                                  18‐01254 
              Boulder County Treasurer                                  18‐01095 
              Box Inc.                                                  18‐01255 
              Braun Intertec Corporation                                18‐01344 
              Braux UK Limited                                          18‐01256 
              Brian McCurdy                                             18‐01413 
              Bright Planet Solar, Inc.                                 18‐01436 
              Brio Energy‐Solar                                         18‐01324 
              Brite Energy‐Solar                                        18‐01325 
              Bruce W. Kingsley                                         18‐01257 
              Bryan Harris                                              18‐01414 
              Build Native, Inc.                                        18‐01050 
              Burnell Controls (Kent) Ltd. (dba Burnell Switchgear &    18‐01258 
              Control) 

                                                          2
 57533/0001-15840287v1
16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                 Pg 5 of 14


              Burr & Tiegs Electrical                               18‐01051 
              BWC Burnshirt River, LLC                              18‐01345 
              Bybee Lakes Logistics Center                          18‐01297 
              Cam Building Maintenance, Inc.                        18‐01346 
              Capital Safety Services, Inc.                         18‐01052 
              Capital Search Group LLC                              18‐01347 
              CDW                                                   18‐01400 
              Celestica Hong Kong Ltd.                              18‐01326 
              Centerpoint Engineering, Inc.                         18‐01259 
              CG Power Solution USA                                 18‐01053 
              Chatham Financial                                     18‐01349 
              Chembrough Group, L.P.                                18‐01298 
              Chris White                                           18‐01415 
              Cigna Healthcare                                      18‐01260 
              Citibank N. A. Uruguay                                18‐01261 
              Citiguard, Inc.                                       18‐01262 
              City Of Brockton                                      18‐01263 
              City of Las Cruces Economic Development               18‐01350 
              Citysafe Security Ltd.                                18‐01264 
              Clarke Realty, LP                                     18‐01265 
              Claro & Cia                                           18‐01266 
              Clean Energy Counsel, LLP                             18‐01351 
              Clean Energy of America Group, Inc.                   18‐01327 
              Clean Harbors Environmental                           18‐01299 
              Cleary Brothers Landscape                             18‐01352 
              Cochran Inc.                                          18‐01353 
              Cognizant Technology Solutions                        18‐01267 
              Color Art Integrated Interiors, LLC                   18‐01055 
              Commercial Due Diligence Services                     18‐01096 
              Commonwealth Electric                                 18‐01354 
              Complete Solar Solution Inc.                          18‐01437 
              Coneco Energy LLC                                     18‐01056 
              Coneco Energy LLC                                     18‐01056 
              Cool Blew, Inc.                                       18‐01487 
              Cooper Investment Partners                            18‐01268 
              Cox Castle & Nicholson LLP                            18‐01355 
              Crane Solutions LLC                                   18‐01525 
              Csolar IV South, LLC                                  18‐01390 
              CT Corporation                                        18‐01058 
              Cwl Crane Worldwide Transportation                    18‐01300 
              DAC Beachcroft                                        18‐01269 
              Dashiell Corporation                                  18‐01391 
              Datareef, LLC                                         18‐01328 

                                                        3
 57533/0001-15840287v1
16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                 Pg 6 of 14


              David Wood and Associates                             18‐01438 
              Del Monte Electric Co., Inc.                          18‐01059 
              Delta Dental                                          18‐01270 
              Demand Solutions Group LLC                            18‐01329 
              DeMarse Electric, Inc. (dba Apex Solar Power)         18‐01439 
              Dennis and Bonnie McPadden                            18‐01117 
              Deutsche Bank Trust Company Americas                  18‐01392 
              Dewinter Group, Inc.                                  18‐01330 
              Divine Power USA, Inc.                                18‐01331 
              Dixieland, LLC                                        18‐01060 
              DNO Consulting Limited                                18‐01271 
              DNV GL PVEL, LLC                                      18‐01356 
              DNV Kema Renewables, Inc.                             18‐01061 
              Dotsolved Systems, Inc.                               18‐01272 
              Dynasolar Services, LLC                               18‐01062 
              Eastcoast Site Work, Inc.                             18‐01063 
              Ecka Granules of America LP                           18‐01401 
              Ecoplexus Inc.                                        18‐01456 
              Efacec Equipos Eléctricos S.L.                        18‐01273 
              Effective Environmental                               18‐01301 
              Eldor Contracting Corp.                               18‐01274 
              Electric Power Systems                                18‐01275 
              Eltropy Inc.                                          18‐01440 
              Elwood Staffing Services, Inc.                        18‐01276 
              Endeavor Staffing LLC                                 18‐01277 
              Enercon Technologies                                  18‐01206 
              Enertis Inc. USA                                      18‐01245 
              Enphase Energy                                        18‐01207 
              Enterprise Fleet Management                           18‐01064 
              Epic Home Solar                                       18‐01208 
              Erm‐West, Inc.                                        18‐01097 
              Eversource                                            18‐01065 
              Evolve Solar Inc.                                     18‐01457 
              Eynon Management, Inc. (dba Eynon Weed Control)       18‐01066 
              F & F Electric, Inc.                                  18‐01246 
              Far East Cable Co. Ltd.                               18‐01488 
              Feeney Wireless LLC                                   18‐01209 
              Fidelity Investments Institutional                    18‐01118 
              First American Title Company                          18‐01210 
              FirstMark Advantage, LLC                              18‐01489 
              Five Star Impact LLC                                  18‐01402 
              Forlexco                                              18‐01490 
              Francisco Perez‐Gundin                                18‐01416 

                                                     4
 57533/0001-15840287v1
16-10992-smb             Doc 5354    Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                  Pg 7 of 14


              Frank W. Nichols And Celestia                          18‐01211 
              Franklin Shuttle                                       18‐01067 
              Fuss & O'Neill, Inc.                                   18‐01068 
              Future Perfect Studios, Inc.                           18‐01212 
              Fyrsoft LLC                                            18‐01213 
              General Electric Company                               18‐01433 
              General Supply & Services Inc. (dba Gexpro)            18‐01069 
              Genpact International                                  18‐01441 
              Geocon West Inc.                                       18‐01070 
              Gestalt Collective Inc.                                18‐01214 
              Global Freight Solutions Inc.                          18‐01071 
              Global Power Gas & Electric LLC                        18‐01215 
              Green Care Companies Inc.                              18‐01216 
              Green Energy Construction & Consulting                 18‐01491 
              Green Mountain Power                                   18‐01217 
              Greenbiz Group Inc.                                    18‐01393 
              Gsolutionz, Inc.                                       18‐01218 
              Habitat Aid Ltd.                                       18‐01219 
              Hambright Company                                      18‐01098 
              Hamilton Solar                                         18‐01492 
              Harmon Solar                                           18‐01493 
              Hart Tech LLC                                          18‐01494 
              Harter Secrest & Emery LLP                             18‐01357 
              Hawaii Medical Service Association                     18‐01220 
              Hawaiian Electric Company, Inc.                        18‐01221 
              HDR Engineering Inc.                                   18‐01358 
              Hebt Irvine 1 LLC                                      18‐01458 
              Hebt Irvine 2 LLC                                      18‐01459 
              Hellmann Worldwide Logistics                           18‐01403 
              Hertz                                                  18‐01532 
              Hewitt Associates LLC                                  18‐01072 
              Home Improvement Leads                                 18‐01442 
              Howard Roofing Company, Inc.                           18‐01516 
              Hsef Gb                                                18‐01247 
              HSEF Seguridad y Salud, S.L.                           18‐01222 
              Hwang Mok Park PC                                      18‐01223 
              Hybrid Electric Bldg. Technologies Irvine 2, LLC       18‐01224 
              Ian Smith                                              18‐01417 
              IBM Corp.                                              18‐01527 
              Ilan Daskal                                            18‐01418 
              Industrial Specialty Services                          18‐01302 
              Inelsa UK, Ltd.                                        18‐01225 
              Infinity Energy, Inc.                                  18‐01443 

                                                           5
 57533/0001-15840287v1
16-10992-smb             Doc 5354    Filed 05/09/18 Entered 05/09/18 15:47:08         Main Document
                                                  Pg 8 of 14


              Info Reliance Corporation                                   18‐01359 
              Infovity Inc.                                               18‐01444 
              Ingenieria Mecano S.L.                                      18‐01404 
              Inmata Solutions Inc.                                       18‐01073 
              Innovative Structural Engineering MD, Inc.                  18‐01119 
              Instalaciones Negratin, S.L.                                18‐01226 
              Integra Enclosures, Inc.                                    18‐01099 
              Interior Architects, Inc.                                   18‐01227 
              International Equipment Leasing Inc.                        18‐01303 
              International Fidelity Insurance                            18‐01394 
              Irrevocable Trust Of William B                              18‐01120 
              ISM Solar Solutions, LLC                                    18‐01360 
              Jackie Denney ‐ KCTTC                                       18‐01228 
              James W. Scarrow PLLC                                       18‐01074 
              Jane Middaugh                                               18‐01395 
              Jefferson County Treasurer                                  18‐01100 
              Jiang Yin Free Newenergy Electric Power Invest. Co., Ltd.   18‐01517 
              Jiangsu 1 Touch                                             18‐01460 
              Jiangyin Jianhe Steel                                       18‐01461 
              Jive Software                                               18‐01229 
              Joshua Plaisted                                             18‐01419 
              Kelly Receivables Funding LLC                               18‐01396 
              Kendall Fong                                                18‐01420 
              Kevin T. Butler                                             18‐01421 
              Kforce Inc.                                                 18‐01534 
              Kim & Chang                                                 18‐01518 
              Kingsbridge Holdings, LLC                                   18‐01075 
              Kipp Zonen USA Inc.                                         18‐01121 
              KLB Group Performance Everyday, S.L                         18‐01230 
              Knowlton Farm Nominee Trust                                 18‐01231 
              Kroll Advisory LLC                                          18‐01445 
              Kupper Engineering Inc.                                     18‐01361 
              LA Power Center Corp.                                       18‐01232 
              LA Solar Group, Inc.                                        18‐01446 
              Lafayette Center LLC                                        18‐01076 
              LBF‐94, LC                                                  18‐01233 
              Lead Genesis Partners                                       18‐01447 
              Leap Consulting                                             18‐01304 
              Leschaco, Inc.                                              18‐01528 
              Life Insurance Company Of North America                     18‐01122 
              Linde                                                       18‐01519 
              LN Legal Consulting Group, LLP                              18‐01362 
              Locke Lord LLP                                              18‐01448 

                                                          6
 57533/0001-15840287v1
16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                 Pg 9 of 14


              Lockton Companies                                     18‐01077 
              Locus Energy, LLC                                     18‐01234 
              Long Island Power Solutions                           18‐01449 
              LookingPoint Inc.                                     18‐01078 
              LP Daniel Engineers & Contractors Inc.                18‐01450 
              Lucas Environmental, LLC                              18‐01235 
              M Bar C Construction Inc.                             18‐01236 
              M.A. Mortenson Company                                18‐01473 
              Manufacturas Braux S.L.                               18‐01237 
              Maricopa County                                       18‐01079 
              Marshall & Stevens, Inc.                              18‐01238 
              MC Tech Co. Ltd.                                      18‐01495 
              McCarthy Building Companies, Inc.                     18‐01080 
              Meins Consulting, S.L.                                18‐01405 
              Mercer (US) Inc.                                      18‐01239 
              Meridian Imaging Solutions                            18‐01081 
              Michael Mattioli                                      18‐01422 
              Microsoft Licensing GP                                18‐01123 
              Mike Owen Fabrication, Inc.                           18‐01082 
              MJM Construction Corp. Inc.                           18‐01363 
              Mobile Modular                                        18‐01305 
              Modsolar LLC                                          18‐01529 
              Modular Space Corporation                             18‐01397 
              Moodys Analytics                                      18‐01364 
              Moore‐McNeil, LLC                                     18‐01240 
              MP KM Golding Ltd.                                    18‐01241 
              MSSA Company Corporation                              18‐01406 
              My Nguyen                                             18‐01242 
              My Nguyen                                             18‐01423 
              Namaste Solar                                         18‐01243 
              National Grid                                         18‐01244 
              Natural Power Sources                                 18‐01496 
              Negratin Renewable SL                                 18‐01141 
              Neva Corp.                                            18‐01306 
              Nexamp, Inc.                                          18‐01365 
              Next Phase Solar Inc.                                 18‐01083 
              Northeast Solar Services                              18‐01497 
              Northern States Metals                                18‐01085 
              Nova Partners Group, Inc.                             18‐01177 
              NV Construction Inc. (dba GNRG Solar)                 18‐01142 
              NYSE Market                                           18‐01143 
              Oak Leaf Energy Partners Ohio, LLC                    18‐01086 
              OI Analytical/Xylem Inc.                              18‐01144 

                                                       7
 57533/0001-15840287v1
16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                Pg 10 of 14


              Okta Inc.                                             18‐01366 
              Omni Logistics, Inc.                                  18‐01145 
              Omni Valley Construction Corp.                        18‐01398 
              ON Search Partners                                    18‐01178 
              OneEnergy Development, LLC                            18‐01146 
              Oracle America                                        18‐01367 
              Orbis Terrarum Projects                               18‐01147 
              OTR Nominee Of State Teachers Retirement System       18‐01148 
              Pacific Gas & Electric Company                        18‐01149 
              Panel Claw, Inc.                                      18‐01087 
              Paragon Partners Ltd.                                 18‐01368 
              Patterson Consulting, Ltd.                            18‐01124 
              PC Housing                                            18‐01125 
              Pepco                                                 18‐01369 
              Peter Sullivan                                        18‐01424 
              Pinsent Masons                                        18‐01477 
              Plymouth Sand & Gravel, LLC                           18‐01150 
              PM&M Electrical Inc.                                  18‐01498 
              Portland General Electric                             18‐01307 
              Power Electronics Corp.                               18‐01152 
              PowerGuard Specialty Insurance Services               18‐01151 
              PowerOptions Inc.                                     18‐01462 
              Prime Source Solar, LLC                               18‐01126 
              Pro Line Shipping Inc.                                18‐01127 
              Pro Tech Energy Solutions LLC                         18‐01463 
              Prologis Perth Amboy Associates, LLC                  18‐01128 
              Prosolia Siglo XXI                                    18‐01153 
              PTI Manitoba Inc.                                     18‐01478 
              Public Service Electric & Gas Company                 18‐01154 
              Pure Power Systems, Inc.                              18‐01370 
              PV Guru Inc.                                          18‐01451 
              QE Solar LLC                                          18‐01088 
              Quanta Power Generation, Inc.                         18‐01155 
              R. M. Young Company                                   18‐01129 
              Radiance Solar, LLC                                   18‐01156 
              Ravi Sankaran                                         18‐01425 
              RBI Solar Inc.                                        18‐01089 
              RC Hunt Electric Inc.                                 18‐01090 
              ReallyGreatRate Inc.                                  18‐01158 
              Red River Island                                      18‐01159 
              Red Ventures LLC                                      18‐01499 
              Redcat Systems LLC                                    18‐01101 
              Reed & Reed, Inc.                                     18‐01479 

                                                     8
 57533/0001-15840287v1
16-10992-smb             Doc 5354    Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                 Pg 11 of 14


              Regus Management LLC                                   18‐01102 
              Reliant Labs, Inc.                                     18‐01160 
              Renew Energy Group                                     18‐01452 
              Renewable Energy Test Center                           18‐01308 
              Ricardo C. Graf                                        18‐01426 
              Riggs Distler & Co., Inc.                              18‐01103 
              Ritch, Mueller, Heather y Nicolau                      18‐01161 
              Robert H. Busler                                       18‐01162 
              Robinson Fencing, Inc.                                 18‐01371 
              ROC II DPC 1875 Lawrence, LLC                          18‐01372 
              Samraj Engineering                                     18‐01464 
              Sasan Vossoughi                                        18‐01427 
              Schenker, Inc.                                         18‐01500 
              Schweitzer Engineering Lab Inc.                        18‐01163 
              Seller Note, LLC, et al.                               18‐01537 
              Sepratech Corp.                                        18‐01309 
              Shafer Landfill Trust                                  18‐01130 
              Shandong Sunway Steel Building Co.                     18‐01501 
              Shane Messer                                           18‐01428 
              Shanghai Zhichuan Electronic Tech                      18‐01502 
              Shine Up Solar LLC                                     18‐01373 
              Shin‐Etsu Quartz                                       18‐01465 
              Shinsung Solar Energy Co. Ltd.                         18‐01385 
              Siemens                                                18‐01530 
              Sierra Building Products                               18‐01374 
              Singletary Farm LLC                                    18‐01164 
              Sino‐American Silicon Products                         18‐01386 
              SkyBlue Solar                                          18‐01503 
              Skyline Solar LLC                                      18‐01504 
              Skyline Steel Inc.                                     18‐01375 
              SMA America, LLC                                       18‐01165 
              Snowline Joint Unified School District                 18‐01505 
              SolAmerica Energy Services, LLC                        18‐01131 
              Solaredge Technologies, Inc.                           18‐01466 
              Solaria Corporation                                    18‐01399 
              Solon Corporation                                      18‐01166 
              Solvchem Inc.                                          18‐01310 
              Southern California Edison                             18‐01535 
              Southern Power Company                                 18‐01467 
              SparkMeter, Inc.                                       18‐01167 
              Spectrum Energy, Inc.                                  18‐01332 
              Spencer J. Carlsen                                     18‐01168 
              Spencer Ogden Ltd.                                     18‐01169 

                                                       9
 57533/0001-15840287v1
16-10992-smb             Doc 5354    Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                 Pg 12 of 14


              SR Striping, LLC                                       18‐01376 
              SSCOP Properties LLC                                   18‐01104 
              Standard Solar, Inc.                                   18‐01105 
              Starhub Ltd.                                           18‐01318 
              State of California, Dept. of General Services         18‐01468 
              State Roofing Systems, Inc.                            18‐01377 
              Steel Connections, Inc.                                18‐01170 
              Stephen O'Rourke                                       18‐01429 
              Stone Roofing Company, Inc.                            18‐01171 
              Subino Business Solutions                              18‐01172 
              Sun Power Corporation Systems                          18‐01106 
              Sun Valley Solar Solutions                             18‐01506 
              Sunergy Construction Inc.                              18‐01173 
              SunFusion Solar Electric, Inc.                         18‐01333 
              Sung Ju Co. Ltd.                                       18‐01507 
              Sungard Avantgard LLC                                  18‐01107 
              Sunlight Solar Energy                                  18‐01508 
              Sustainable Energy Systems                             18‐01509 
              SVT 1100 Perimeter Park, LP                            18‐01179 
              Swinerton Builders                                     18‐01378 
              Synergy Innovations PTE Ltd.                           18‐01469 
              Systems Electric LLC                                   18‐01108 
              Tangoe, Inc.                                           18‐01109 
              Targray Technology International                       18‐01470 
              Tata America International Corporation                 18‐01407 
              Tate Times 2, LLC                                      18‐01510 
              Tavrida Electric North America                         18‐01174 
              Tech Mahindra Ltd.                                     18‐01334 
              Teracai Corporation                                    18‐01175 
              Terracon Consultants, Inc.                             18‐01379 
              Terrasmart LLC                                         18‐01110 
              Tetra Tech Inc.                                        18‐01111 
              Texas Commission On Environmental Quality              18‐01176 
              The Bloom Organization                                 18‐01132 
              The Hackett Group                                      18‐01180 
              Thunderbird Logistics                                  18‐01133 
              Thuraisingham, Ravi                                    18‐01157 
              TK HVAC & Electrical Services                          18‐01335 
              Tokai Carbon USA Inc.                                  18‐01408 
              Top Choice Electrical                                  18‐01511 
              Top Quality Services LLC                               18‐01380 
              Town Of Andover                                        18‐01181 
              Town Of Berlin                                         18‐01182 

                                                          10
 57533/0001-15840287v1
16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                Pg 13 of 14


              Town Of Franklin                                      18‐01183 
              Town Of Grafton                                       18‐01184 
              Town of Holliston                                     18‐01520 
              Town Of Mattapoisett                                  18‐01185 
              Town Of Monson                                        18‐01186 
              Town Of Plymouth                                      18‐01187 
              Town Of Rutland                                       18‐01188 
              Town Of Salisbury                                     18‐01189 
              Transwood Inc.                                        18‐01311 
              TRC Companies, Inc.                                   18‐01190 
              Triad Consulting Engineers Inc.                       18‐01381 
              Trimark Associates, Inc.                              18‐01112 
              Triple Crown Solar Structures Inc.                    18‐01191 
              True South Renewables, Inc.                           18‐01113 
              Ttcal‐Vi‐Reit‐Col Jackson                             18‐01312 
              TUV SUD Cert & Test China SHH                         18‐01313 
              Twin State Sun LLC                                    18‐01512 
              U.S. Security Associates                              18‐01192 
              UCPC Limited                                          18‐01193 
              Unirac, Inc.                                          18‐01453 
              United Rentals (North America), Inc.                  18‐01194 
              United Site Services, Inc.                            18‐01195 
              US Customs & Border Protection                        18‐01521 
              US Ecology Texas Inc.                                 18‐01314 
              UTS Environmental                                     18‐01315 
              V3 Electric                                           18‐01454 
              Vanasse Hangen Brustlin Inc.                          18‐01114 
              Velocify, Inc.                                        18‐01336 
              Vendorpass Inc.                                       18‐01196 
              Verizon                                               18‐01522 
              Vikas Desai                                           18‐01430 
              Vision Service Plan                                   18‐01134 
              Vogt Solar                                            18‐01197 
              Vortex Web Solutions LLC                              18‐01198 
              Vwr Corp.                                             18‐01316 
              Walters Wholesale Electric Company                    18‐01199 
              West Coast Solar, Inc.                                18‐01201 
              West Tec Construction, Inc.                           18‐01382 
              Western Oilfield Supply Co.                           18‐01317 
              Westland Resources Inc.                               18‐01135 
              Whitman                                               18‐01383 
              Wilks Lukoff & Bracegirdle, LLC                       18‐01202 
              Wind Turbine & Energy Cables                          18‐01384 

                                                     11
 57533/0001-15840287v1
16-10992-smb             Doc 5354   Filed 05/09/18 Entered 05/09/18 15:47:08    Main Document
                                                Pg 14 of 14


              Winmax Systems Corporation                            18‐01203 
              Woodlawn Associates                                   18‐01204 
              Woongjin Energy                                       18‐01387 
              XOOM Solar LLC                                        18‐01513 
              Zeewoo Tech Corp.                                     18‐01471 
              Zhengzhou XSD Mach.                                   18‐01472 
              Zhonghuan Semiconductor Corporation                   18‐01388 




                                                    12
 57533/0001-15840287v1
